Case 0:21-cv-60125-RNS Document 198-1 Entered on FLSD Docket 08/08/2023 Page 1 of 5




                             EXHIBIT 1
Case 0:21-cv-60125-RNS Document 198-1 Entered on FLSD Docket 08/08/2023 Page 2 of 5




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD.,

   Plaintiff,

   v.

   CIRCUITRONIX LLC,

   Defendant,
   ____________________________________/

          DEFENDANT’S RULE 26(a)(1) SUPPLEMENTAL INITIAL DISCLOSURES

           Defendant, Circuitronix, LLC (“CTX, LLC”), pursuant to Federal Rule of Civil

   Procedure 26 and 34, hereby provides the following supplemental initial disclosures:

   (i) The name and, if known, the address and telephone number of each individual likely to have
   discoverable information—along with the subjects of that information—that the disclosing party
   may use to support its claims or defenses.

   WITNESS                       CONTACT DETAILS                 KNOWLEDGE
   Melonnie Rhoden               Address:                        Knowledge of accounting,
                                 450 NW 124th Street             invoicing, reconciliations, and
                                 North Miami, FL 33168           payments, and related
                                                                 communications with Benlida
                                 Telephone No.:                  regarding same
                                 (954) 993-7779
   Marcia Delgado                Address:                        Knowledge of accounting,
                                 800 SW 120th Way                invoicing, reconciliations, and
                                 Davie, FL 33325                 payments and related
                                                                 communications with Benlida
                                 Telephone No.:                  regarding the same.
                                 (786) 650-4833
   Nicole Donaldson              Address:                        Knowledge of accounting,
                                 1670 NW 123rd Street            invoicing, reconciliations, and
                                 Miami, FL 33167                 payments, and related
                                                                 communications with Benlida
                                 Telephone No.:                  regarding same
                                 (305) 345-2502


                                                  1
Case 0:21-cv-60125-RNS Document 198-1 Entered on FLSD Docket 08/08/2023 Page 3 of 5




   These witnesses are in addition to those already disclosed in CTX’s Initial Disclosures of January 26,
   2022. In addition to the foregoing, Defendant reserves the right to call any witnesses identified by
   Plaintiff, now or in the future, and any employee of a corporate party. Defendant also reserves the
   right to supplement this list of individuals in light of further discovery and investigation.



   (iii)   a computation of each category of damages claimed by the disclosing party—who must
   also make available for inspection and copying as under Rule 34 the documents or other
   evidentiary material, unless privileged or protected from disclosure, on which each computation is
   based, including materials bearing on the nature and extent of injuries suffered; and

   1. The compensatory damages CTX, LLC seeks is set forth in the three charts below, subject to
   possible amendment at the time expert disclosures are due:
   AMOUNT OWED TO CTX, LLC (a.k.a. “CTX USA”) BY BENLIDA

                                                       Records of CTX USA      Records of Benlida        Discrepancy

   Through July 2019
      Payments                                        $    67,728,456          $ 67,636,070          $       92,386    (4)
      Invoices                                            (65,176,316)   (1)     (65,839,234) (2)           662,918    (5)
      Debit Memos                                           2,762,729              2,275,790                486,939    (6)
                            Owed to CTX USA
                                                 A    $    5,314,869           $    4,072,625        $    1,242,243
                            through July 2019
   After July 2019
       Payments                                       $     5,846,684          Not provided for
       Invoices                                            (4,000,313)   (3)    the period after
       Debit Memos                                              7,475                 July 2019
                            Owed to CTX USA
                                                 B    $    1,853,845
                              after July 2019

     Waiver of debit memos per meeting minutes   C    $     (389,655)    (8)

                           Owed to CTX USA A+B+C $         6,779,059     (7)

   (1) Data compiled from the Excel spreadsheets attached to Rishi Kukreja's email dated November 1, 2019: Benlida
   Payment Details CTX-US_2012-2019.xls (CTX_00001751-1753).
   (2) Data compiled from the Excel spreadsheet attached to Benlida's email dated November 15, 2019: 2012-
   2019reconciliation analysis-2019.11.15 CCT (CTX_00001993-1995 ).
   (3) Data compiled from spreadsheets produced by CTX: Benlida Payment Details CTX-US_2012-2021_v5.xls; CCT-BLD-
   190412001; CCT-BLD-190830001; CCT-BLD-190903002.
   (4) Discrepancy includes payments by CTX USA which Benlida claims were for 1mm tin line, and OSP Payment.
   (5) Discrepancy relates primarily to pricing differences between unit prices per CTX USA's Purchase Orders and
   corresponding invoices from Benlida for the same product.
   (6) Discrepancy relates primarily to lead time exceedances claimed by CTX USA in Debit memos issued to Benlida.
   (7) Not including Lead Time Penalties claimed by CTX USA.
   (8) Meeting minutes and transmittal emails (BLD_00000367, BLD_00000073, BLD_00000581, BLD_00000582, BLD_00000588).




                                                             2
Case 0:21-cv-60125-RNS Document 198-1 Entered on FLSD Docket 08/08/2023 Page 4 of 5




   AMOUNT OWED TO CTX, LLC (a.k.a. “CTX USA”) BY ROK

                                                       Records of CTX USA         Records of ROK           Discrepancy
   Through July 2019
       Payments                                        $    45,624,466           $ 45,242,084          $      382,382 (12)
       Invoices                                            (47,207,857)   (9)      (47,759,772) (10)          551,915 (13)
       Debit Memos                                           3,763,381               2,328,501              1,434,880 (14)
                       Owed to (from) CTX USA
                                                   A   $    2,179,989            $   (189,188)         $    2,369,177
                             through July 2019
   After July 2019
       Payments                                        $      450,000     (11)
                                                                                 Not provided
       Invoices                                                   -
                       Owed to (from) CTX USA
                                                   B   $      450,000
                                 after July 2019

     Waiver of debit memos per meeting minutes     C   $       (28,247)   (16)

                           Owed to CTX USA A+B+C $          2,601,742     (15)

   (9) Data compiled from the Excel spreadsheet attached to Rishi Kukreja's email dated November 1, 2019: ROK Payment
   Details CTX-US_2012-2019 (CTX_00001751-1753).
   (10) Data compiled from the Excel spreadsheet attached to Benlida's email dated November 15, 2019: 2012-
   2019reconciliation analysis-2019.11.15 CCT (CTX_00001993-1995).
   (11) Data compiled from spreadsheet produced by CTX: ROK Payment Details CTX-US-HK_2012-2018_2.xls.
   (12) Discrepancy includes payments by CTX USA which ROK claims were for non-product purposes such as 1mm tin line,
   OSP Payment, and transfer payment.
   (13) Discrepancy relates primarily to pricing differences between unit prices per CTX USA's Purchase Orders and
   corresponding invoices from ROK for the same product.
   (14) Discrepancy relates primarily to lead time exceedances claimed by CTX USA in Debit memos issued to ROK.
   (15) Not including Lead Time Penalties claimed by CTX USA.
   (16) Meeting minutes and transmittal emails (BLD_00000367, BLD_00000073, BLD_00000581, BLD_00000582, BLD_00000588).




   LEAD TIME PENALTIES OWED TO CTX, LLC (a.k.a. “CTX USA”) FROM BENLIDA
   & ROK

                                                                           BLD                         ROK
    February 2016 through February 2017                             $        832,383               $    602,904
    November 2017 through May 2018                                           938,563                    679,811
    August 2018 through July 2021                                          1,336,831

                                  Owed to CTX USA                   $      3,107,778     (17)      $   1,282,714 (17)

    (17) Penalty for Lead-Time Exceedances Reports for the period from February 2016 through July 2021




                                                              3
Case 0:21-cv-60125-RNS Document 198-1 Entered on FLSD Docket 08/08/2023 Page 5 of 5




   Dated: May 31, 2023                         Respectfully submitted,

                                               PODHURST ORSECK, P.A.
                                               One S.E. 3rd Avenue, Suite 2300
                                               Miami, Florida 33131
                                               Tel.: 305-358-2800

                                               By: /s/ Stephen F. Rosenthal
                                               Stepphen F. Rosenthal, Esq
                                               Florida Bar No. 0131458
                                               srosenthal@podhurst.com

    PODHURST ORSECK, P.A.                              CHAUNCEY COLE, PA
    One S.E. 3rd Avenue, Suite 2300                    9100 South Dadeland Blvd., Suite 1553
    Miami, Florida 33131                               Miami, Florida 33156
    Tel.: 305-358-2800/Fax: 305-358-2382               Tel.: (786) 497-7053

    By: /s/ Stephen F. Rosenthal
    Stephen F. Rosenthal                               By: /s/ Chauncey D. Cole IV
    Florida Bar No. 0131458                            Chauncey D. Cole, IV, Esq.
    srosenthal@podhurst.com                            Florida Bar No. 102184
    Christina H. Martinez                              chauncey.cole@coletrial.com
    Florida Bar No. 1029432
    cmartinez@podhurst.com




                                   Counsel for Circuitronix, LLC



                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served by hand and via

   electronic mail on a registered CM/ECF user on May 31, 2023.

                                               By: /s/ Stephen F. Rosenthal
                                                  Stephen F. Rosenthal




                                                  4
